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 5                                 UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
 7                                                 *****
 8   UNITED STATES OF AMERICA,                        )
                                                      ) Case no. 3:11-CR-00131-LRH-VPC
 9                                  Plaintiff,        )
     vs.                                              ) USM No. 46377-048
10                                                    )
     JUAN CARLOS LOPES-FLORES,                        )               ORDER
11        aka Juan Carlos Lopez-Flores                )
          (true name),                                )
12                             Defendant.             )
                                                      ) Defendant’s Attorney:
13   Dated of Original Judgment: 10/11/2012           )    Nisha Brooks-Whittington
     Date of Previous Amended Judgment:               )
14   12/11/2012                                       )
                                                      )
15
16          Upon motion of the Defendant and stipulation between the Defendant and the
17   Government for a sentence reduction pursuant to Title 18 U.S.C. § 3582(c)(2) for a reduction in
18   the term of imprisonment imposed based on a guideline sentencing range that has subsequently
19   been lowered and made retroactive by the United States Sentencing Commission pursuant to
20   Title 28 U.S.C. § 994(u), and having such considered such motion, and taking into account the
21   policy statement set forth at United States Sentencing Guideline ¶ 1B1.10 and the sentencing
22   factors set forth in Title 18 U.S.C. § 3553(a), to the extent they are applicable,
23          IT IS ORDERED that the motion is GRANTED and the defendant’s previously imposed
24   sentence of imprisonment of sixty (60) months is reduced to forty-eight (48) months. This
25   modification shall not become effective until November 1, 2015.
26          Except as otherwise provided, all provisions of the judgment dated December 11, 2012,
27   shall remain in effect.
28          IT IS SO ORDERED.
            DATED this 16th day of March, 2015.
                                                            _______________________________
                                                            LARRY R. HICKS
                                                            UNITED STATES DISTRICT JUDGE
